 

a Case 19S-qggt76s-Gwc Document 6 Filed oe Page 1 of 6

Wy

UNITED STATES COURT OF INTERNATIONAL TRADE U K | G | N A [

 

THE MEAD CORPORATION,

 

: Court No.
Plaintiff, : 95-12-01783
v. :
THE UNITED STATES,
Defendant.
ANSWER

Pursuant to Rule 7(a) of the Rules of the United States Court of International Trade,

the United States, defendant, responds to the allegations of plaintiff's complaint as follows:

1. Admits.
2. Admits.
3. Admits.
4. Admits.
5. Admits that the imported merchandise is described on the invoices as "snap day

wont

planner in mid size," "snap day planner," and "softwear zipper day planner" and model nos.
47062, 47102, 47104, 47124 and 47192.
6. Admits that model nos. 47062, 47192 and 47124 have 3 ring binders while

model nos. 47104 and 47102 have 6 ring binders.

7. Admits.
8. Admits.
9. Admits.
10. Admits.

C g&
 

 

Case  “~oren Document 6 ricv@e’e Page 2 of 6

11. Admits that each model has a notepad inserted into a rear pocket flap. Avers
that this paper is "ruled" or "lined" in all of the models except 47102, which contains graph
paper.

12. Admits, except avers that model no. 47102 does appear to contain a credit
card/business card holder.

13. Denies that model no. 47102 has a snap closure. Admits that model no. 47192
has a snap closures, model nos. 47062 and 47124 have zipper closures and model no. 47102
has no closure. Avers that, inasmuch as model no. 47104 has a snap closure, it appears that
this allegation contains a typographical error.

14. Admits.

15. | Admits that this is plaintiff’s claim but denies the validity thereof.

16. Admits that this is an accurate recitation of the cited HTSUS provision.

17. Admits.

18. Avers that this allegation constitutes a legal conclusion to which no response is
required. To the extent a response is required, admits.

19. Avers that this allegation constitutes a legal conclusion to which no response is
required. To the extent a response is required, admits.

20. Denies.

21. The responses to paragraphs 1 through 20 are incorporated as if fully set forth
here.

22. Admits that this appears to be plaintiff's contention, but denies the validity

thereof.
 

Case a eee Document 6 Filed a Page 3 of 6

23.  Avers that this allegation constitutes a legal conclusion to which no response is
required. To the extent a response is required, admits.

24. Denies.

25. Admits that the paper and other inserted materials are not permanently fastened
along one edge or spine in a manner of work performed by a bookbinder. Admits that the
materials such as calendars, daily planners and telephone/address alphabetical index tabs are
replaced at the appropriate time. Avers that to remove these inserts from the diary prior to

the appropriate time would render the diary useless.

26. Admits.
27. Admits.
28. Denies.

29.  Avers that this allegation constitutes a legal conclusion to which no response is
required. To the extent a response is required, denies.

30. _Avers that this allegation constitutes a legal conclusion to which no response is
required. To the extent a response is required, admits.

31. The responses to paragraphs 1 through 30 are incorporated as if fully set forth
here.

32. Admits.

33. Denies.

34.  Avers that this allegation constitutes a legal conclusion to which no response is
required. To the extent a response is required, admits.

WHEREFORE, defendant respectfully requests that judgment be entered dismissing

this action, overruling plaintiff's claim, sustaining the decision of the appropriate customs
 

Case og eerens Document 6 reo’ Page 4 of 6

official and the assessment of duty thereunder and granting defendant such other and further

relief as may be just and appropriate.

Dated: June 5, 1996

 

Respectfully submitted,

FRANK W. HUNGER
antAttorney—General

  

AMY M. RUBIN

Trial Attorney

Civil Division, Dept. of Justice
Commercial Litigation Branch
26 Federal Plaza

New York, New York 10278
Attorneys for Defendant

Tel. No. (212) 264-9230 or 9237
 

Case POS gp eS CWE Document 6 rrea@r've Page 5 of 6

CERTIFICATE OF SERVICE BY MAIL

I, AMY M. RUBIN certify that I am a trial attorney in the office of the Assistant Attorney
General, Civil Division, Commercial Litigation Branch, International Trade Field Office, with
offices located at 26 Federal Plaza, New York, N.Y. 10278, and that on June 5, 1996, on
behalf of the United States, defendant herein, I caused the annexed papers to be served upon

Sidney H. Kuflik

Lamb & Lerch

233 Broadway

New York, New York 10279
the attorney(s) for the plaintiff herein, by depositing a true copy thereof in a United States

mail receptacle, properly enclosed in a securely closed envelope, duly franked or postage

prepaid, addressed to said attorney(s) as above indicated.
 

Case 1:95-cv-01783-GWC Document6 Filed 06/05/96 Page 6 of 6

wee be

 
